                                                      Case 17-06078-MM7         Filed 03/17/20     Entered 03/17/20 14:35:01        Doc 379     Pg. 1 of 15




                                                       1   GARY E. SLATER (State Bar No. 99141)
                                                           TIMOTHY J. TRUXAW (State Bar No. 106428)
                                                       2   SLATER & TRUXAW, LLP
                                                           15373 Innovation Drive, Suite 210
                                                       3   San Diego, California 92128
                                                           Telephone: (858) 675-0755/Fax: (858) 675-0733
                                                       4

                                                       5   Attorneys for Richard M Kipperman, Chapter 7 Trustee

                                                       6

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                                                       8                              UNITED STATES BANKRUPTCY COURT

                                                       9                              SOUTHERN DISTRICT OF CALIFORNIA

                                                      10   In Re:                                                Case No. 17-06078-MM7

                                                      11   CORE SUPPLEMENT TECHNOLOGY,
                                                           INC.                                                  CERTIFICATION OF SERVICE
                                                      12
                  15373 INNOVATION DRIVE, SUITE 210




                                                      13                   Debtor.                               Honorable Margaret M. Mann
                    SAN DIEGO, CALIFORNIA 92128
SLATER & TRUXAW




                                                      14

                                                      15            I, the undersigned, whose address appears below, certify: That I am, and at all times herein

                                                      16   mentioned was, more than 18 years of age;

                                                      17            That on the 17th day of March 2020, I served a true copy of:

                                                      18            1.     NOTICE OF INTENDED ACTION AND OPPORTUNITY FOR HEARING

                                                      19                   [DATED 03/17/2020] – Notice only via U.S. Mail; and,

                                                      20            2.     TRUSTEE’S NOTICE OF PROPOSED ABANDONMENT OF PROPERTY

                                                      21                   [DATED: 03/17/2020] – Notice only via U.S. Mail

                                                      22   by the means of service indicated below to the parties identified on the attached service list:

                                                      23   1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)-
                                                           Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing
                                                      24   document(s) will be served by the court via NEF and hyperlink to the document. As indicated on
                                                           the attachment, parties as so indicated, will be served via NEF.
                                                      25
                                                           2.      “ELECTRONICALLY” – document(s) were served by electronic mail (Email) to the
                                                      26   parties so designated on the attached service list.

                                                      27   3.       SERVED BY U.S. MAIL OR OVERNIGHT MAIL - The foregoing document(s) will be
                                                           served by placing a true and correct copy thereof in a sealed envelope in the United States Mail,
                                                      28   first-class, postage pre-paid, and/or with an overnight mail service. As indicated on the

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                                                                                                                                      Case No. 17-06078-MM7
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                                                       1   attachment, parties as so indicated will be served via U.S. Mail or overnight mail.

                                                       2          I certify under penalty of perjury that the foregoing is true and correct.

                                                       3          Executed on March 17, 2020.

                                                       4

                                                       5                                                 /s/ Leah M. Brahin
                                                                                                         LEAH M. BRAHIN
                                                       6                                                 15373 Innovation Drive, Suite 210
                                                                                                         San Diego, CA 92128
                                                       7

                                                       8

                                                       9

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                                                      11

                                                      12
                  15373 INNOVATION DRIVE, SUITE 210




                                                      13
                    SAN DIEGO, CALIFORNIA 92128
SLATER & TRUXAW




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Label Matrix for local noticing            Ascentium Capital LLC                          Bank of America, N.A.
0974-3                                     c/o Wright Law Group, PLLC                     c/o Hemar, Rousso & Heald, LLP
Case 17-06078-MM7                          4470 W. Sunset Blvd., Suite 90003              15910 Ventura Blvd., 12th Floor
Southern District of California            Los Angeles, CA 90027-6302                     Encino, CA 91436-2802
San Diego
Tue Mar 17 11:51:16 PDT 2020
Berlin Packaging L.L.C.                    California Department of Tax and Fee Adminis   Core Supplement Technology, Inc.
525 West Monroe Street                     Account Information Group, MIC:29              4645 North Ave
Chicago, IL 60661-3648                     P.O. Box 942879                                Oceanside, CA 92056-3593
                                           Sacramento, CA 94279-0029


(p)CREDITORS ADJUSTMENT BUREAU INC         Direct Food Ingredients, Inc.                  Div. of Labor Standards Enforcement
ATTN WENDY THOMAS                          1235 Activity Drive Suite B                    7575 Metropolitan Drive, Suite 210
14226 VENTURA BLVD                         Vista, CA 92081-8562                           San Diego, CA 92108-4424
SHERMAN OAKS CA 91423-2777


Dongyu USI                                 Dun & Bradstreet                               Franchise Tax Board
Coface North America Insurance             Attn: Lynne Roberts, 2nd Floor                 Attn: Bankruptcy
650 College Road East, Suite 2005          3501 Corporate Parkway                         P.O. Box 2952
Princeton, NJ 08540-6779                   PO Box 520                                     Sacramento, CA 95812-2952
                                           Center Valley, PA 18034-0520

IRS                                        IRS-Insolvency Division                        Micro Quality Labs, Inc.
Insolvency Group 1                         P.O. Box 7346                                  c/o Margulies Faith, LLP
333 W Broadway                             Philadelphia, PA 19101-7346                    16030 Ventura Blvd., Suite 470
San Diego, CA 92101-3805                                                                  Encino, CA 91436-4493


Pyure Brands, LLC                          Slater & Truxaw, LLP                           United States Trustee
c/o Harris J. Koroglu                      15373 Innovation Drive, #210                   Office of the U.S. Trustee
Shutts & Bowen LLP                         San Diego, CA 92128-3425                       880 Front Street
200 S Biscayne Blvd                                                                       Suite 3230
Suite 4100                                                                                San Diego, CA 92101-8897
Miami, FL 33131-2362
U.S. Bankruptcy Court                      3M                                             A&A Pharmachem
Jacob Weinberger U.S. Courthouse           PO Box 844127                                  4-77 Auriga Drive
325 West F Street                          Dallas, TX 75284-4127                          Ottawo, Onterio Canada K2E727
San Diego, CA 92101-6991


AIDP, Inc.                                 AM Trust North America                         APP Global, Inc
19535 East Walnut Drive South              P. O. Box 6939                                 1940 S Lynx Place
Rowland Heights, CA 91748-2318             Cleveland, OH 44101-1939                       Ontario, CA 91761-8054



Acasi Machinery Inc.                       Accutek                                        Advanced Air & Vacuum
7085 NW 46th Street                        2685 S. Melrose DR.                            1685 N. Marshall Ave
Miami, FL 33166-5605                       Vista, CA 92081-8783                           El Cajon, CA 92020-1126



Airlite Plastics Co.                       Airlite Plastics, Co.                          Albion Minerals
Attn: Shona Flack                          PO Box 8400                                    101 N. Main
6110 Abbott Drive                          Omaha, NE 68108-0400                           Clearfield, UT 84015-2243
Omaha, NE 68110-2834


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Alkemist Laboratories                           Alkemist Labs                             Allen Flavors, Inc.
1260 Logan Avenue #B2                           12661 Hoover Street                       23 Progress Street
Costa Mesa, CA 92626-4000                       Garden Grove, CA 92841-4174               Edison, NJ 08820-1102



Allen Flavors, Inc.                             Ally                                      Ally Financial
Ira Steinberg, CFO                              P. O. Box 9001948                         PO Box 130424
23 Progress Street                              Louisville, KY 40290-1948                 Roseville MN 55113-0004
Edison, NJ 08820-1102


Almax Corporation                               AlphaNutra Solution Limited               Alvar Enrique Morales
7 Schindler Dr                                  Brown & Joseph, Ltd.                      4017 Independence Ave
Rockaway, NJ 07866-4811                         c/o Don Leviton                           South Gate, CA 90280-2504
                                                Po Box 59838
                                                Schaumburg, IL 60159-0838

Alz Chemical                                    Ameri-Seal                                American Labratories
680 Village Trace                               21330 Superior Street                     4410 S. 102nd St.
Marietta, GA 30067-4097                         Chatsworth, CA 91311-4312                 Omaha, NE 68127-1003



American Lecithin Company, Inc                  American Nutrition                        Analytical Laboratories in Ana
115 Hurley Road                                 718 Broadway                              2951 Saturn Street
Unit 2B                                         Everett, MA 02149-2917                    Brea, CA 92821-6206
Oxford, CT 06478-1047


Andrew B. Levin                                 Applied Food Science                      Applied Food Sciences, Inc.
Winthrop Couchot Golubow Hollander, LLP         8708 S. Concress, Bldg. 290               c/o Duane J. Brescia
660 Newport Center Drive, uite 400              Austin, TX 78745-7379                     Strasburger & Price, LLP
Newport Beach, CA 92660-6427                                                              720 Brazos, Suite 700
                                                                                          Austin, TX 78701-2531

Aramark                                         BAG Corp                                  BCS
Aus West Lockbox                                P O Box 671212                            13550 Danielson St.
PO Box 101179                                   Dallas, TX 75267-1212                     Poway, CA 92064-6874
Pasadena, CA 91189-1179


BDS Naturals                                    Banc of America Leasing                   Banc of America Leasing & Capital, LLC
2779 El Presidio St.                            2059 Northlake Parkway                    c/o Wayne R. Terry
Carson, CA 90810-1118                           3rd Floor North                           Hemar, Rousso & Heald, LLP
                                                Tucker, GA 30084-5321                     15910 Ventura Blvd., 12th Floor
                                                                                          Encino, CA 91436-2829

Bank of America                                 Bank of America                           Bank of America Credit Card
One Independence Center                         c/o J. ALEXANDRA RHIM                     P. O. box 15731
NC1-001-05-13, 101 N. Tryon St                  Hemar, Rousso & Heald, LLP                Wilmington, DE 19886-5731
Charlotte, NC 28255-0010                        15910 Ventura Blvd., 12th Floor
                                                Encino, CA 91436-2829

Bank of America NA                              Bank of America, N.A.                     Bank of America, N.A.
2059 Northlake Pkwy                             HEMAR, ROUSSO & HEALD, LLP                c/o Wayne R. Terry
Tucker, GA 30084-5399                           c/o J. Alexandra Rhim, Esq.               HEMAR, ROUSSO & HEALD, LLP
                                                15910 Ventura Blvd., 12th Floor           15910 Ventura Blvd., 12th Floor
                                                Encino, California 91436                  Encino, CA 91436-2829
                                                ( 91436-2802
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Batory Foods                                  Batory Foods                              Berlin Packaging L.L.C.
1700 E. Higgins Rd. Suite 300                 PO Box 80047                              c/o Brian J. Jackiw, Esq.
Des Plaines, IL 60018-3800                    City of Industry, CA 91716-8047           Goldstein & McClintock LLLP
                                                                                        111 W. Washington, Suite 1221
                                                                                        Chicago, IL 60602-3482

Berlin Packaging L.L.C.                       Berlin Packaging LLC                      Bosch Packaging Services, Inc.
c/o Nathan A. Schultz, Esq.                   PO Box 95584                              P. O. Box 95193
Law Office of Nathan A. Schultz, P.C.         Chicago, IL 60694-5584                    Chicago, IL 60694-5193
10621 Craig Road
Traverse City, MI 49686-9221

Busch Machinery, Inc.                         Business Copier Solutions                 CIT Bank NA
727 E 20th Street                             13750 Danielson Street                    PO Box 593007
Tucson, AZ 85719-6620                         Poway, CA 92064-8889                      San Antonio, TX 78259-0200



CT Corporation System                         CT Lien Solutions                         Canyon Plastics, Inc.
330 N. Brand Blvd. STE 700                    2727 Allen Parkway                        28455 Livingston Ave
Glendale, CA 91203-2336                       Houston, TX 77019-2120                    Valencia, CA 91355-4173



Capital Premium Finance                       CapsCanada                                Carol Chow, Esq.
12235 S. 800 E                                456 Silver Creek Industrial Dr.           Jeffrey S. Goodfried, Esq.
Draper, UT 84020-9726                         Tecumeseh, ON N8N 4Y3 Canada              Freeman, Freeman & Smiley, LLP
                                                                                        1888 Century Park East, Suite 1500
                                                                                        Los Angeles, CA 90067-1719

Century Lable                                 Chad Robinson                             Chempoint
12836 South Dixie Highway                     679 Merit Dr.                             411 108th Ave NE
Bowling Green, OH 43402-9230                  San Marcos, CA 92078-1403                 Bellevue, WA 98004-8402



Christopher V. Hawkins, Esq.                  ChromaDex Inc.                            City of Oceanside,
Sullivan Hill Lewin Rez& Engel APLC           10005 Muirlands Blvd.                     Office of the City Attorney
550 West C Street, Suite 1500                 Suite G 1st Floor                         300 North Coast Highway
San Diego, CA 92101-3570                      Irvine, CA 92618-2538                     Oceanside, CA 92054-2824


Clark Pest Control                            Clutch                                    Color Maker
PO Box 1480                                   527 Molino Unit # 203                     1300 N Hancock Street
Lodi, CA 95241-1480                           Los Angeles, CA 90013-2344                Anaheim, CA 92807-1928



Compound Solutions, Inc.                      Corporation Service Company               Covance Laboratories, Inc.
Attn: Laura Novak, Controller                 801 Adlai Stevenson Drive                 2102 Wright St.
1930 Palomar Point Way, Suite 105             Springfield, IL 62703-4261                Madison, WI 53704-2577
Carlsbad, CA 92008-5579


Creative Compounds                            Custom Blow Molding                       DAVID A. ORTIZ
600 Daugherty Rd.                             946 S. Andreasen DR.                      OFFICE OF THE UNITED STATES TRUSTEE
PO Box 4011                                   Escondido, CA 92029-1914                  880 FRONT STREET, SUITE 3230
Scott City, MO 63780-4011                                                               SAN DIEGO, CA 92101-8897


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DMitry Karetny                                 Daylight Transport                             (p)DE LAGE LANDEN FINANCIAL
365 Pamelo Dr. #E1                             CVC Technologies, Inc.                         ATTN LITIGATION & RECOVERY
Vista, CA 92081-6395                           10861 Business Drive                           1111 OLD EAGLE SCHOOL ROAD
                                               Fontana, CA 92337-8235                         WAYNE PA 19087-1453


Dept. Indust. Rel., Labor Law Enforce.         Diana Naturals Inc.                            Dongyu USI
1550 West Main St.                             PO Box 157                                     2590 Main St.
El Centro, CA 92243-2105                       Silverton, OR 97381-0157                       Irvine, CA 92614-6227



Dynamic Distribution                           ETHORN                                         Eirich Machines
546 Jesmond Road                               16050 Canary Avenue                            4033 Ryan Rd
Fig Tree Pocket                                La Mirada, CA 90638-5585                       Gurnee, IL 60031-1255
QLD 4069
Australia, ME 04014

Electronic Recycling Center                    Employment Development Department              Enzo
2618 Temple Heights Dr.                        Bankruptcy Group MIC 92E, PO BOX 826880        2605 Pinon Ct.
Oceanside, CA 92056-3512                       Sacramento, CA 95814                           Grapevine, TX 76051-7176



Eriez Manufacturing Company                    Ernest Packaging Solutions                     Euler Hermes N.A.
2200 Asbury Road                               1345 Sycamore Avenue                           800 Red Brook Blvd.
Erie, PA 16506-1402                            Vista, CA 92081-7810                           Owings Mills, MD 21117-5190



Evolution Salt Co.                             FamVans, Inc                                   Fastenal Company
3310 W. Barker Lane 300-234                    10870 Kalama River Ave                         1334 N. Melrose Dr. STE A&B
Austin, TX 78758-7853                          Fountain Valley, CA 92708-6003                 Vista, CA 92083-2922



FedEx                                          FedEx Corporate Services                       FedEx Corporate Services, Inc.
PO Box 7221                                    Regions Lockbox Services                       3965 Airways Blvd.
Pasadena, CA 91109-7321                        C/O FedEx SenseAware                           Module G, 3rd Floor
                                               Birmingham, AL 35287-1926                      Memphis, TN 38116-5017


FedEx Freight                                  Feed Me More                                   Feed Me More
Dept LA PO Box 21415                           2555 W. Centennial Pkwy                        P.O. Box 752740
Pasadena, CA 91185-1415                        North Las Vegas, NV 89084-5809                 Las Vegas, NV 89136-2740



Fifth Nutrisupply, Inc                         Fifth Nutrisupply, Inc.                        Financial Pacific Leasing
C/O Hui Heidi Liu                              5595 Daniels St. Unit B                        C/O CT Lien Solutions
Arbor CPA, APC                                 Chino, CA 91710-9034                           2727 Allen Parkway
17870 Castleton St. STE 230                                                                   Houston, TX 77019-2120
City of Industry, CA 91748-6712

Financial Pacific Leasing                      Financial Pacific Leasing, Inc., a Washingto   Five Percent Nutrition
C/O CT Lien Solutions                          C/O Spiwak & Iezza, LLP                        8285 Bryan Dairy Road
818 W. Seventh St. STE 930                     555 Marin Street, Suite 140                    Suite 190
Los Angeles, CA 90017-3476                     Thousand Oaks, CA 91360-4103                   Largo, FL 33777-1306


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Fredrick W. Kosmo, Jr. Esq.                    Fredrick W. Kosmo, Jr. Esq.               Fuller Enterprise USA, Inc.
Wilson, Turner, Kosmo, LLP                     Wilson, Turner, Kosmo, LLP                1735 E. Grevillea Ct.
550 West C. Street #1050                       San Diego, CA 92101                       Ontario, CA 91761-8092
San Diego, CA 92101-3532


GNT USA                                        Gary B. Rudolph, Esq.                     General Ingredients Solutions,
660 White Plains Road                          SULLIVAN HILL LEWIN REZ & ENGEL, APLC     1220 E. Elm Street
Tarrytown, NY 10591-5139                       550 West C Street, Suite 1500             Ontario, CA 91761-4584
                                               San Diego, CA 92101-3570


Genysis Nutrition Labs/VMI                     George Nutting Co Inc                     Glanbia Business Services, Inc.
391 S. Orange Street                           1907 Dotman Road                          975 Meridian Lake Drive
Salt Lake City, UT 84104-3524                  Bainbridge GA 39817-1731                  Aurora, IL 60504-4929



(p)GLANBIA NUTRITIONALS INC                    Global Formulas                           Golden Globe Group, LLC
ATTN C/O GLANBIA BUSINESS SERVICES INC         27111 Aliso Creek Road                    13567 OLD EL CAMINO REAL
4255 MERIDIAN PARKWAY                          Ste. 175                                  San Diego, CA 92130-3163
SUITE 151                                      Aliso Viejo, CA 92656-5354
AURORA IL 60504-7961

Goldstein & McClintock LLLP                    Granite Nutrition                         Granite Nutrition
Attn: Brian J. Jackiw                          30 Waterworks Way                         P.O. Box 1090
111 W. Washington                              Irvine, CA 92618-3107                     Placentia, CA 92871-1090
Suite 1221
Chicago, IL 60602-3482

Great American Packaging                       Great American Packaging                  Great American Packaging
431 S. Soto St., STE B                         4361 S. Soto Street                       C/O Greg Gurewitz
Los Angeles, CA 90033                          Vernon, CA 90058-2311                     4361 S. Soto St., STE B
                                                                                         Vernon, CA 90058-2311


Green Wave Ingredients                         Green Wave Ingredients                    Green Wave Ingredients, Inc.
C/O Michael Magnuson                           Ima North America, Inc                    c/o Michael S. Magnuson
13215 Penn Street                              7 New Lancaster Road                      13215 Penn Street, Suite 205
Whittier, CA 90602-1722                        Leominster, MA 01453-5224                 Whittier, CA 90602-1749


HP Ingredients Corp.                           HP Ingredients c/o ESP Receivables        HS Biopharmaceuticals, Inc.
707 24th Ave. W.                               399 Asbury Drive                          2792 Loker Ave. West Ste 105
Bradenton, FL 34205-8272                       Mandeville, LA 70471-3461                 Carlsbad, CA 92010-6615



Harbor Packaging                               Hawthorne Lift Systems                    Hilmar Cheese Company, Inc.
PO Box 844969                                  1600 E. Missiion Road                     PO Box 910
Los Angeles, CA 90084-4969                     San Marcos, CA 92069-4564                 Hilmar, CA 95324-0910



Hilmar Ingredients, Inc.                       Honey Badger                              IB Fitness
8901 N. Lander Ave.                            3005 S. Lamar Blvd                        C/O Jerome Moe, Esq
Hilmar, CA 95324-9327                          Ste D109 #145                             501 W. Broadway, STE 1205
                                               Austin, TX 78704-4785                     San Diego, CA 92101-3536


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Ima North America, Inc                        Image Fillers                             Image Fillers, Inc
7 New Lancaster Road                          735 Foxchase, STE 111                     735 Fox Chaxe, STE 111
Leominster, MA 01453-5224                     Coatsville, PA 19320-1897                 Coatesvill, PA 19320-1897



Infinite Packaging Group                      Innovative Muscle                         Innovative Muscle, LLC
712 Valley Ridge Circle                       633 13thStreet, Unit 41                   C/O Stephen Kerson
Lewisville, TX 75057-3307                     San Diego, CA 92154-1060                  10861 Queensland St.
                                                                                        Los Angeles, CA 90034-3420


Inspired Nutraceuticals                       Inspired Nutraceuticals                   Integrated Time Systems, LLC
6242 Warner Ave 9F                            795 E. Factory Dr. STE C                  740 N Plankinton Rd. STE 730
Huntington Beach, CA 92647-5186               Saint George, UT 84790-5067               Milwaukee, WI 53203-2403



InterHealth, Inc.                             Internal Revenue Service                  JJJ Enterprises
5451 Industrial Way                           PO Box 7346                               PO Box 463021
Benicia, CA 94510-1010                        Philadelphia, PA 19101-7346               Escondido, CA 92046-3021



Jennison Quality Components                   Jennison Quality Components, I            Jiaherb Inc.
54 Arch Street Extension                      54 Arch Street Extension                  1 Chapin Rd. Unit 1
Carnegie, PA 15106-2040                       P.O. Box 861                              Pine Brook, NJ 07058-9221
                                              Carnegie, PA 15106-0861


Jigsaw                                        Joseph A. Abramo                          Joseph O’Dea
9035 E Pima Center Parkway                    4130 Milano Way                           3688 Camino de las Lomas
Suite 3                                       Oceanside, CA 92057-7649                  Vista, CA 92084-6639
Scottsdale, AZ 85258-4410


Joseph O’Dea                                  Joseph Odea                               Joseph Odea
c/o Gary B. Rudolph, Esq.                     3688 Camino de las Lomas                  4645 North Ave.
SULLIVAN HILL LEWIN REZ & ENGEL, APLC         Vista, CA 92084-6639                      Oceanside, CA 92056-3593
550 West C Street, Suite 1500
San Diego, CA 92101-3570

Jost Chemical                                 KPC Mastercraft International             Katherine Haycook
8150 Lackland Road                            300 Brynt Lane                            480 Dennis Drive
Saint Louis, MO 63114-4524                    Woodbury, TN 37190-1630                   Vista, CA 92083-7776



Kelly Services                                Kelly Sevices, Inc.                       Kevin M. Bell, Esq.
PO Box 31001-0422                             999 West Big Beaver                       Porzio, Bromberg @ Newman, PC
Pasadena, CA 91110-0422                       Troy, MI 48084-4716                       1200 New Hampshire Ave NW, 710
                                                                                        Washington, DC 20036-6827


Kyowa Hakko                                   LA Leasing, Inc                           LC Magnetics
600 Third Ave, 19th Floor                     600 35th Avenue                           1139 N. Kraemer Place
New York, NY 10016-1904                       Moline, IL 61265-6145                     Anaheim, CA 92806-1923



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LCA Bank Corporation                             Law Office of Nathan A. Schultz, P.C.       Layn USA, Inc
P. O. Box 1650                                   Attn: Nathan A. Schultz                     20250 Acacia St.
Troy, MI 48099-1650                              10621 Craig Road                            Suite 105
                                                 Traverse City, MI 49686-9221                Newport Beach, CA 92660-1736


Leak Star Advanced Leak Detect                   Logisticx Fox                               MJB Freight Systems, Inc
PO Box 2333                                      7461 Garden Grove Blvd. Unit A              6225 Marindustry Dr.
Carlsbad, CA 92018-2333                          Garden Grove, CA 92841-4227                 San Diego, CA 92121-2537



MTC Industries, Inc.                             Marburg Industries Inc.                     Marina Teel
255 Oser Ave                                     1207 Activity Drive                         Jerome Moe, Esq.
Hauppauge, NY 11788-3765                         Vista, CA 92081-8510                        501 W. Broadway, STE 1025
                                                                                             San Diego, CA 92101-3546


Markem-Imaje                                     Marlin Leasing Corporation                  Marlin Leasing Corporation
P. O. Box 3542                                   300 Fellowship Road                         6470 E. Johns Crossing
Boston, MA 02241-3542                            Mount Laurel, NJ 08054-1727                 Duluth, GA 30097-2511



Max Racks, Inc                                   MayPro Industries, LLC.                     Mayfield Bustarde, LLP
3791 Hillside Ave                                2975 Westchester Avenue                     462 Stevens Ave. Suite 303
Norco, CA 92860-1554                             Purchase, NY 10577-2533                     Solana Beach, CA 92075-2066



McMaster-Carr                                    Melody G. Anderson, Esq.                    Metro Fire and Safety
PO Box 7690                                      WRIGHT LAW GROUP, PLLC                      2733 Via Orange Way, STE 103
Chicago, IL 60680-7690                           4470 W. Sunset Blvd. Suite 90003            Spring Valley, CA 91978-1748
                                                 Los Angeles, CA 90027-6302


Metrolift                                        Michael B. Lestino                          Michael D. Schulman, Esq.
556 Commerce Street                              259 Prospects Plains Road, Building A       18757 Burbank Blvd. STE 310
Franklin Lakes, NJ 07417-1310                    Cranbury, NJ 08512-3706                     Tarzana, CA 91356-3393



Micro Quality Labs, Inc.                         Milne Fruit (MicroDried)                    Mitsubishi International Food
3120 N Clybourn Ave.                             P.O. Box 368                                2200 Fletcher Ave. 5th Fl.
Burbank, CA 91505-1050                           Grandview, WA 98930-0368                    Fort Lee, NJ 07024-5016



Mitsubishi International Food Ingredients, I     Muriello Muscle                             NSF International
2200 Fletcher Ave. Ste. 503                      1102 Robinwood Drive                        P. O. Box 77000
Fort Lee, NJ 07024-5016                          Oldsmar, FL 34677-4502                      Detroit, MI 48277-1380



Natreon, Inc                                     (p)NATURAL ALTERNATIVES INTERNATIONAL INC   Nature’s Supplements, Inc.
2-D Janine Place                                 1535 FARADAY AVENUE                         1342 Rocky Point Drive
New Brunswick, NJ 08901-3646                     CARLSBAD CA 92008-7319                      Oceanside, CA 92056-5864



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Naturex, Inc.                              Novel Ingredients, Inc.                NuLiv Science USA
375 Huyler Street                          72 Deforest Ave.                       255 Paseo Tesoro
South Hackensack, NJ 07606-1532            East Hanover, NJ 07936-2811            Walnut, CA 91789-2724



Nutraleaf Nutrition                        Nutriom, LLC.                          Nutriscience
1780 Lacosta Meadows Dr. Ste 100           3145 Hogum Bay Rd. NE                  2450 Reservoir Ave.
San Marcos, CA 92078-9101                  Lacey, WA 98516-3110                   Trumbull, CT 06611-4735



Nutrleaf Nutrition                         OSF Flavors, Inc.                      OmniActive Health Technologies Inc.
1780 La Costa Meadows Drive                P. O. Box 591                          67 East Park ave., Suite 500
San Marcos, CA 92078-9101                  Windsor, CT 06095-0591                 Morristown, NJ 07960



OneSource Distributors, LLC                Ontario Refrigeration                  Orora Packaging Solutions
3951 Oceanic Drive                         635 S. Mountain Avenue                 PO Box 101150
Oceanside, CA 92056-5846                   Ontario, CA 91762-4114                 Pasadena, CA 91189-1150



Orora Packaging Solutions                  PAT Vitamins, Inc.                     Package All Corp.
dba Manufactured Packaging Products        1751 Curtiss Court                     Mr. Phil Padgett, CEO
6600 Valley View Street                    La Verne, CA 91750-5852                655 Church Street
Buena Park, CA 90620-1145                                                         Bayport, NY 11705-1098


Package All Corp.                          PanaSource Ingredients Inc.            PanaSource Ingredients, Inc.
PO Box 4105                                Coface North America Insurance         98-A Mayfield Avenue
Rancho Cucamonga, CA 91729-4105            650 College Road East, Suite 2005      Edison, NJ 08837-3821
                                           Princeton, NJ 08540-6779


Peek Packaging                             Pharma Resources Inc.                  Pharmachem Labs
6221 Yarrow Street                         C/O Dixit Law Firm, PA                 2929 East White Star Ave
Carlsbad, CA 92011-1550                    3030 N. Rocky Pt. DR. W. #260          Anaheim, CA 92806-2628
                                           Tampa, FL 33607-5902


Platinum Bear                              PlusPharma, Inc                        Prescott/Patnode
1890 Pinto Circle                          2611 Commerce Way, Suite A             3011 Deeb Court
Gardnerville, NV 89410-6819                Vista, CA 92081-8455                   Vista, CA 92084-6565



Pretium Packaging LLC                      Primeval Nutrition                     Prinova
15450 South Outer Forty Ste 120            70 Batesville Blvd. Ste. A             36780 Eagle Way
Chesterfield, MO 63017-2062                Batesville, AR 72501-8972              Chicago, IL 60678-1367



Pro-Scape, Inc.                            Pro-Scape, Inc.                        Providence Capital Funding
510 Venture Street                         C/O Michael L. Helms                   3020 Saturn Street
Escondido, CA 92029-1212                   1441 York Dr.                          Suite 203
                                           Vista, CA 92084-7609                   Brea, CA 92821-6262


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Pure Valley Nutrition                  Pyure Brands, LLC                          Pyure Brands, LLC
403 Arrow Hwy, Ste 306                 2277 Trade Center Way, Ste 101             c/o Harris J. Koroglu, Esq.
San Dimas, CA 91773-3367               Naples, FL 34109-2010                      Shutts & Bowen LLP
                                                                                  200 S. Biscayne Blvd., Suite 4100
                                                                                  Miami, FL 33131-2362

RJ Van Drunen & Sons, Inc              RS HUGHES CO INC                           RSP
300 W 6th Street                       2575 PIONEER AVE STE 102                   3381 NW 168th Street
Momence, IL 60954-1136                 Vista, CA 92081-8450                       Opa Locka, FL 33056-4229



Rancho California Center, LP           ReadyRefresh by Nestle                     ReadyRefresh by Nestle
1656 Bahia Vista Way                   PO Box 856158                              c/o Amy Curtis
La Jolla, CA 92037-7852                Louisville, KY 40285-6158                  375 Paramount Dr
                                                                                  Raynham, MA 02767-5154


Richard W. Bass                        Robert Bailly                              Robert Bailly
3633 Indiana St. #9                    20 La Flauta                               4645 North Ave
San Diego, CA 92103-4664               Rancho Santa Margarita, CA 92688-3224      Oceanside, CA 92056-3593



Robert Bailly                          Royalty Nutrition                          Sabinsa
73 Northern Pine Loop                  100 West 5th Street #4F                    20 Lake Drive
Aliso Viejo, CA 92656-6034             Long Beach, CA 90802-2363                  East Windsor, NJ 08520-5321



Saminchem Inc.                         San Diego County Treasurer Tax Collector   SeaTech Bioproducts Corp.
3225 Grapevine St                      Attn: Bankruptcy Desk                      159 Memorial Dr. Unit C
Mira Loma, CA 91752-3502               1600 Pacific Highway Room 162              Shrewsbury, MA 01545-6202
                                       San Diego, CA 92101-2477


Sedona Staffing                        Select Staffing                            Sensaware By FedEx
600 35th Avenue                        PO Box 512007                              FedEx Corporate Services, Inc
Moline, IL 61265-6145                  Los Angeles, CA 90051-0007                 3640 Hacks Cross Rd. Bldg. D
                                                                                  Memphis, TN 38125-8800


Sensient                               Seppic Inc.                                Seppic, Inc.
777 East Wisconsin Ave                 P. O. Box 101654                           Coface North America Insurance Company
Milwaukee, WI 53202-5304               Pasadena, CA 91189-1654                    50 Millstone Rd., Bldg. 100, Ste. 360
                                                                                  East Windsor, NJ 08520-1415


Seven Labs                             Shanghai Freeman                           Shanghai Freemen Lifescience Co., LTD
1420 Decision, STE C                   377 Hoes Lane, Suite 240                   Brown & Joseph ltd.
Vista, CA 92081-8576                   Piscataway, NJ 08854-4138                  c/o Don Leviton
                                                                                  P.O. Box 59838
                                                                                  Schaumburg, IL 60159-0838

Southeastern Freight Lines Inc.        Stauber Ingredients                        Stauber Ingredients
PO Box 1691                            4120 N. Palm Street                        4645 North Ave.
Columbia, SC 29202-1691                Fullerton, CA 92835-1026                   Oceanside, CA 92056-3593



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Steven J. Cote Esq                     Stryka Botanicals                            Superior Labs
Chang & Cote LLP                       279 Homestead Road                           9921 Carmel Mountain Rd. #297
19138 Walnut Drive, Suite 100          Hillsborough, NJ 08844-1907                  San Diego, CA 92129-2813
Rowland Heights, CA 91748-1432


The Western Group                      ThermoFisher Scientific                      Tic Gums
3950 NW St. Helens Rd                  81 Wyman Street                              4609 Richlynn Drive
Portland, OR 97210-1423                Waltham, MA 02451-1223                       Belcamp, MD 21017-1228



Tristar Machinery                      UPS                                          Uline
1287 Naperville Drive                  P. O. Box 1012                               2200 S. Lakeside Dr.
Romeoville, IL 60446-1187              Horsham, PA 19044-8012                       Waukegan, IL 60085-8311



Uline Shipping Supplies                (c)UNGERER & COMPANY                         UniChem Enterprises, Inc.
12575 Uline Drive                      4 UNGERER WAY                                1905 S. Lynx Pl
Pleasant Prairie, WI 53158-3686        LINCOLN PARK NJ 07035-1449                   Ontario, CA 91761-8055



UniFirst                               Unifirst Corporation                         United Fire Group
4041 Market Street                     Attn: Accounts Receivable                    118 Second Ave SE
San Diego, CA 92102-4593               68 Jonspin Road                              Cedar Rapids, IA 52401-1253
                                       Wilmington, MA 01887-1086


United States Trustee                  Univar USA, Inc.                             Van Drunen Farms
880 Front Street, Suite 3230           PO BOX 34325                                 Attn: Stephanie J. Harris
San Diego, CA 92101-8897               Seattle, WA 98124-1325                       33 N. Dearborn Street, Suite 340
                                                                                    Chicago, IL 60602-3965


Vanadium Interactive                   Vitajoy USA Inc.                             Vitalah
9277 Research Drive                    14165 Ramona Avenue Chino, CA                41 Hangar Way
Irvine, CA 92618-4286                  Chino, CA 91710-5753                         Watsonville, CA 95076-2458



Volt Management Corp                   Volt Management Corp.                        Volt Workforce Solutions
P.O. Box 679307                        c/o Terry Jordan                             Attn: Director of Contracts
Dallas, TX 75267-9307                  2421 N. Glassell St.                         2401 North Glassell St.
                                       Orange, CA 92865-2705                        Orange, CA 92865-2705


Waseta Int. Trading Co. Ltd.           Wells Fargo Vendor Financial Services, LLC   Wesco Security Systems, Inc.
Room 2001-2002-                        1010 Thomas Edison Blvd., SW                 PO Box 1108
Golden Eagle Edifice B # 1518          Cedar Rapids, IA 52404-8247                  Placentia, CA 92871-1108
Min Sheng Rd. Shanghai China


West Coast Environmental               Westco Chemicals, Inc                        Wixon
2323 Chico Ave, STE 3                  12551 Saticoy Street South                   PO Box 88533
South El Monte, CA 91733-1634          North Hollywood, CA 91605-4312               Milwaukee, WI 53288-0533



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Wixon, Inc                                            Alan Myers                                           Ernie Zachary Park
1390 E Bolivar Ave                                    4121 Paseo Montanas                                  for DS Del Mar Heights, LLC
St. Francis, WI 53235-4521                            San Diego, CA 92130-2108                             13215 E. Penn Street, Ste 510
                                                                                                           Whittier, CA 90602-1797


Melissa Bustarde                                      Mette Kurth                                          Richard M Kipperman
462 STEVENS AVE, SUITE 303                            Fox Rothschild LLP                                   PO Box 3010
SOLANA BEACH, CA 92075-2066                           1800 Century Park East                               La Mesa, CA 91944-3010
                                                      Suite 300
                                                      Los Angeles, CA 90067-1506

Ronald F Woods                                        Stephen C. Hinze
Ronald F. Woods & Associates                          Stephen C. Hinze, Attorney at Law, A PC
225 Broadway                                          100 E. San Marcos Blvd.
Suite 1900                                            Suite 400
San Diego, CA 92101-5047                              San Marcos, CA 92069-2988



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Creditors Adjustment Bureau, Inc.,                    (d)Creditors Adjustment Bureau, Inc.                 De Lage Landen Financial
14226 Ventura Blvd.                                   14226 Ventura Blvd.                                  Attn: D DiFilippo
Sherman Oaks, CA 91423                                Sherman Oaks, CA 91423                               1111 Old Eagle School Road
                                                                                                           Wayne, PA 19087


Glanbia Nutritionals                                  Natural Alternatives Int. Inc.
c/o Glanbia Business Services,                        1535 Faraday Avenue
Dept 3331                                             Carlsbad, CA 92008
Carol Stream, IL 60132-3331




                                      Addresses marked (c) above for the following entity/entities were corrected
                                           as required by the USPS Locatable Address Conversion System (LACS).


Ungerer & Company
4 Bridgewater Lane
Lincoln Park, NJ 07035




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)BFS West, Inc.                                     (u)Compound Solutions, Inc.                          (u)Floorit Financial Inc




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(u)PanaSource Ingredients Inc.          (d)United States Trustee                    (d)United States Trustee
                                        Office of the U.S. Trustee                  Office of the U.S. Trustee
                                        880 Front Street                            880 Front Street
                                        Suite 3230                                  Suite 3230
                                        San Diego, CA 92101-8897                    San Diego, CA 92101-8897

(d)Ascentium Capital, LLC               (u)Bestcom (Wuxi) Biotech Co. Ltd           (u)Bradley J Knudson
c/o Wright Law Group, PLLC              Room 502, No. 5
4470 W. Sunset Blvd., Suite 90003       Zhihui Rd., Huishen Dist.
Los Angeles, CA 90027-6302              Wuki City, Jiangsu Prov.


(d)Direct Food Ingredients, Inc.        (d)Dongyu USI                               (u)Financial Pacific Leasing
1235 Activity Drive Suite B             Coface North America Insurance
Vista, CA 92081-8562                    650 College Road East, Suite 2005
                                        Princeton, NJ 08540-6779


(u)Konica Minolta Premier Finance       (d)Micro Quality Labs, Inc.                 (u)Shri Kartikeya Pharma
                                        c/o Margulies Faith, LLP                    D. No. 5-9-225, 3rd floor
                                        16030 Ventura Blvd., Suite 470              Sanali Estate, Chirag Ali Lane
                                        Encino, CA 91436-4493                       Andhrapradesh


(u)Unipharm                             (d)Joseph O’Dea                             (u)Michael D. Schulman
                                        3688 Camino de las Lomas                    18757 Burbank Blvd.
                                        Vista, CA 92084-6639                        Suite 310
                                                                                    Tarzana


End of Label Matrix
Mailable recipients   307
Bypassed recipients    18
Total                 325




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Franchise Tax Board                   Franchise Tax Board,                   Office of the US Attorney
State of California                   Attn: Bankruptcy Unit                  Southern Dist. of Cal.
Headquarters Compliance               P.O. Box 2952                          880 Front St., Rm. 6293
Sacramento, CA 92867                  Sacramento, CA 95812-2952              San Diego, CA 92101


Internal Revenue                      City of San Diego                      U. S. Department of Justice
P. O. Box 12586                       Treasurer Collections                  P. O. Box 9683
Fresno, CA 93778                      525 "B" Street MS-854                  Ben Franklin Station
                                      San Diego, CA 92101                    Washington, DC 20044


Employment Dev. Dept.                 Dept. of Industrial Rel.               Div. of Labor Standards
State of California                   Div. of Labor Law Enforc.              Enforcement - California
800 Capitol Mall                      1550 W. Main Street                    8765 Aero Drive
Sacramento, CA 95814                  El Centro, CA 92243-5002               San Diego, CA 92123


Div. of Labor Standards Enf.          Dunn & Bradstreet                      Dunn & Bradstreet
7575 Metropolitan Drive               333 City Blvd. West                    Maryanne Bachert-Public Rec.
Suite 210                             Suite 1400                             899 Eaton Avenue
San Diego, CA 92108                   Orange, CA 92868-2924                  Bethlehem, PA 18025


I.R.S. - Insolvency Group 1           IRS-Insolvency Division                I.R.S. - Insolvency
Mailstop 5501                         P.O. Box 21126                         333 W. Broadway
24000 Avila Road                      Philadelphia, PA 19114                 San Diego, CA 92101
Laguna Niguel, CA 92677


State Board of Equal. - CA            S. D. Treasurer- Tax Coll.             Employment Dev. Dept.
Customer & Tax Payer Sec.             1600 Pacific Highway                   P.O. Box 2550
P. O. Box 942879                      Room 162                               1350 Front St., Rm 1062
Sacramento, CA 94279-0001             San Diego, CA 92101                    San Diego, CA 92112


City Treasurer                        Employment Dev Dept - CA               I.R.S.-ATTN: Kirk C. Johnson
P.O. Box 129039                       Bankruptcy Unix - MIC 92E              Special Procedures Branch
San Diego, CA 92112-9030              P.O. Box 826880                        P.O. Box 30213 - IU-3
                                      Sacramento, CA 94280                   Laguna Niguel, CA 93607-0213




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